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UNITED STATES DISTRICT COURT                                                               October 20, 2020
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
   TYSON FOODS INC.,                                             :
                                                                 :
                                               Plaintiff,        :
                                                                 :     19-cv-10125 (ALC) (GWG)
                    -against-                                    :
                                                                 :     ORDER
  KEYSTONE FOOD HOLDINGS LIMITED                                 :
  (n/k/a BEEF HOLDINGS LIMITED) and                              :
  MARFRIG GLOBAL FOODS S.A.,                                     :
                            Defendants.                          :
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ANDREW L. CARTER, JR., United States District Judge:

         The Court shall hold a telephone conference on November 2, 2020 at 2:00 p.m. Plaintiff
should initiate the call to the other parties, and once all relevant parties are on the line, should
contact the Court at 1-888-363-4749 on the date and time specified above and once prompted,
should dial access code 3768660.


SO ORDERED.

Dated:           October 20, 2020
                 New York, New York

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                                                                      ANDREW L. CARTER, JR.
                                                                      United States District Judge
